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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
VS. Case No.: 22-cr-00115-JFH-2
Donnie B Pearson, WAIVER OF JURY TRIAL
Defendant.

COMES NOW the undersigned defendant, and having been fully apprised of my rights, do hereby
WAIVE my SIXTH AMENDMENT RIGHTS to a jury IN ALL RESPECTS both as to guilt or innocence and

as to sentencing.

Accordingly, I hereby CONSENT that all matters in the above styled and numbered
criminal proceedings be determined by the Court in accordance with Rule 23, Federal Rules of Criminal

Procedure.

Donnie B Pearson, Defendant

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Attorney for Wefendant

CONSENT OF GOVERNMENT:
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Assistant United States AO

Signed and approved in open court on 1/4/2023.

ug —

Donald D. Bush’ Magistrate Judge

Change Plea Magistrate Judge (8/2021)
